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17
                                    UNITED STATES DISTRICT COURT
18
                              NORTHERN DISTRICT OF CALIFORNIA
19
                                       SAN FRANCISCO DIVISION
20

21
     CHRISTOPHER FARNSWORTH,                                    3:24-cv-6893
                                                       Case No. _________________
22   individually and on behalf of others
     similarly situated,                               CLASS ACTION COMPLAINT
23
                       Plaintiff,                      JURY TRIAL DEMANDED
24
     v.
25
     META PLATFORMS, INC.,
26
                       Defendant.
27

28

                                                                             CLASS ACTION COMPLAINT
                                                                             CASE NO. 3:24-cv-6893
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 1          Plaintiff Christopher Farnsworth, on behalf of himself and all other similarly situated

 2   individuals (the “Class,” as defined below), brings this Class Action Complaint against Defendant

 3   Meta Platforms, Inc. (“Meta”).

 4                                      NATURE OF THE ACTION
 5          1.      Meta stole hundreds of thousands of pirated copyrighted books to build a

 6   commercial product called a Large Language Model (“LLM”). The United States Constitution

 7   recognizes the fundamental principle that copyright holders are entitled to exclusive rights in their

 8   works in order to incentivize further creation. Meta ignored this basic principle, and the federal

 9   law embodying it, by stealing and exploiting copyright-protected books for profit.

10          2.      Plaintiff Christopher Farnsworth is a best-selling fiction author. He brings this

11   class action under the Copyright Act to redress the harm Meta’s infringement caused to him and

12   other authors. Meta exploited Plaintiff’s works without authorization, made illicit copies of them,

13   and then fed those copies to its LLM. Meta did this to enhance the quality of its LLM’s language

14   output and, ultimately to have a more desirable and profitable LLM product to compete in the AI

15   arms race that has developed over the last few years.

16          3.      Meta calls its set of LLMs “Llama.” Like other LLMs, Llama is an AI software

17   program designed to emit convincingly naturalistic text outputs in response to user prompts. The

18   quality of Llama’s output is determined by the quality of the data it is fed. Meta knew that the

19   more high-quality, long-form text it fed to Llama, the better Llama would perform commercially.

20   In this way, Llama is what it ingests. By willfully including unauthorized and pirated copies of

21   Plaintiff’s copyrighted literary works in its development work, pre-training, and training data,

22   Meta exploited authors’ literary talents without consent or compensation of any kind.

23                                     JURISDICTION AND VENUE
24          4.      The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a)

25   because this action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et seq.

26          5.      The Court also has personal jurisdiction over Defendant because it has purposely

27   availed itself of the privilege of conducting business in this District.

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 1           6.     Meta is headquartered in this District and its copyright infringement—including

 2   the downloading and reproduction of the copyrighted works—occurred, in substantial part, in this

 3   District. Meta also marketed and distributed its LLMs from this District to citizens of California.

 4           7.     Venue is proper under 28 U.S.C. § 1400(a) because Meta or its agents reside or

 5   may be found in this District and their infringing activities, along with their commercialization of

 6   their infringing activities, occurred in this District. Venue is also proper under 28 U.S.C.

 7   § 1391(b)(2) because a substantial part of the events giving rise to Plaintiff’s claims occurred in

 8   this District, including the largescale copyright infringement and commercialization of Meta’s

 9   LLMs.

10                                             THE PARTIES
11           8.     Plaintiff Christopher Farnsworth is an author who resides in Los Angeles,

12   California. He is the author of eight novels, three novellas, and varied other literary works.

13           9.     Defendant Meta Platforms, Inc. is a Delaware corporation with its principal place

14   of business at 1 Hacker Way, Menlo Park, CA 94025.

15                                     FACTUAL ALLEGATIONS
16   I.      Meta’s Development and Commercialization of Llama.
17           10.    Founded in 2004 as a social media company then called The Facebook, Inc., Meta

18   has grown and diversified its technology services rapidly over the last 20 years. Presently, Meta

19   has a market capitalization of over $1.4 trillion and is among the ten most valuable companies in

20   the world. Meta makes billions of dollars selling advertising and services across its flagship

21   platforms like Facebook, Instagram, and WhatsApp.

22           11.    Following the sensational consumer response to OpenAI’s release of ChatGPT in

23   November of 2022, many of the world’s largest technology companies accelerated their research

24   and development of commercial LLMs. ChatGPT was powered by an LLM capable of generating

25   uncannily human-like responses to people’s queries.

26           12.    In February of 2023, Meta developed and released a collection of foundational

27   LLMs it called LLaMA as part of its commercial generative AI development initiative. These

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 1   LLMs were later renamed Llama 1. Meta initially released Llama 1 for non-commercial research

 2   uses.

 3           13.    Less than five months later, in July of 2023, Meta released Llama 2, this time

 4   “available under a permissive commercial license.”1 By September 27, 2023, Meta reported that

 5   users had downloaded over 30 million copies of Llama-based models.2

 6           14.    On April 18, 2024, Meta released Llama 3, which it built on the foundation of

 7   Llama 1 and 2.3 Upon its commercial release, Meta touted Llama 3 as powering its new consumer

 8   service Meta AI, “one of the world’s leading AI assistants.”4 Meta admittedly is using its LLMs

 9   to enhance its current commercial products and, on information and belief, Meta is working on a

10   premium, paid-subscription version of its AI assistant service—powered by Llama 3.

11   II.     Meta Developed Its Commercial AI Models Using Stolen, Copyrighted Material.
12           A.     Large Language Models and the Training Process.
13           15.    At issue is a species of AI models called large language models, or LLMs. LLMs

14   are designed to mimic human use of language. LLMs are able to simulate patterns of human

15   language by processing input text (“prompts”) and generating output text in response to these

16   prompts on a predictive basis, i.e., determining what word follows what.

17           16.    At a high level, LLMs are algorithms designed to distill mathematically the

18   relationships between words in written works through a process called “training.” LLMs achieve

19   this goal by ingesting massive amounts of training materials such as books, breaking down input

20   text into smaller pieces—words or portions of words, called “tokens”—then translating those

21   pieces into “vectors,” or a sequence of numbers that is used to identify the token within the series

22   of algorithms. Those vectors help place each token in a probabilistic context identifying other

23   tokens closely associated with the word. As described by industry-leading generative AI

24   development company OpenAI, in comments to the Copyright Office, “the process begins by

25   breaking text down into roughly word-length ‘tokens,’ which are converted to numbers. The

26
     1
       https://ai.meta.com/llama/faq/
27   2
       https://ai.meta.com/blog/llama-2-updates-connect-2023/
     3
28     https://arxiv.org/pdf/2407.21783
     4
       https://about.fb.com/news/2024/04/meta-ai-assistant-built-with-llama-3/
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 1   model then calculates each token’s proximity to other tokens in the training data—essentially,

 2   how near one word appears in relation to any other word. These relationships between words

 3   reveal which words have similar meanings . . . and functions.”5

 4          17.     As a model trains by digesting more and more written works, the algorithms,

 5   which distill the relationship between various tokens, changes with it. A model takes text inputs

 6   in the form of an incomplete phrase or passage, and attempts to complete the phrase, essentially a

 7   fill-in-the-blank quiz. A model compares its predicted phrase completion with the actual “correct”

 8   answer and then adjusts its internal algorithms to “learn” from its mistakes and minimize the

 9   difference between any given text input and the “correct” text output.

10          18.     A model then repeats this same cycle millions, possibly billions, of times across

11   the entire corpus of training materials, adjusting its algorithms each time to reflect the text input

12   from the corpus. This is known as the “pre-training” process, which is the foundation of creating

13   a “base” LLM model, which can be “fine-tuned” later to achieve more specific results. The pre-

14   training process fundamentally enables a model to process prompts and generate text output that

15   mimics human language. It does so by exposing a model to a wide range of texts and using

16   algorithms to predict the next word in the text. By repeating this process, a model develops

17   fluency in style, syntax, and expression of ideas, largely by digesting and processing the protected

18   expression contained in the material used for training. The LLM mines the expression contained

19   in the training corpus, adjusting its algorithms such that it can mimic the ordering of words, style,

20   syntax, and presentation of facts, concepts, and themes.

21          19.     In a literal sense, a model is what it ingests: without training on material, there is

22   no LLM. The quality and quantity of the training corpus is critical to the quality of the resulting

23   model. As one researcher put it: “[large language] model behavior is not determined by

24   architecture, hyperparameters, or optimizer choices [i.e. technical features set during model

25   training]. It’s determined by your dataset, nothing else. Everything else is a means to an end in

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     5
      See Comment of OpenAI “Re: Notice of Inquiry and Request for Comment [Docket No. 2023-
28   06],” United States Copyright Office, Oct. 30, 2023, p. 5-6 (available at:
     https://downloads.regulations.gov/COLC-2023-0006-8906/attachment_1.pdf).
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 1   efficiently deliver[ing] compute to approximating that dataset.”6 Conversely, if the LLM’s

 2   training materials are of poor quality, the output—the end product—also will be of poor quality.

 3          20.      Books are especially valuable training material for the training and development of

 4   LLMs. As one commentator put it, “[b]ooks offer formal and lengthy texts which help LLMs

 5   understand complex language structures, grasp long-term context, and produce coherent

 6   narratives.”7

 7          21.      Any LLM training process, including Meta’s training of Llama, involves creating

 8   multiple copies of the training text which often include a vast number of written works in their

 9   entirety. As the U.S. Patent and Trademark Office has observed, LLM “training” “almost by

10   definition involve[s] the reproduction of entire works or substantial portions thereof.”8

11          B.       Meta Copied A Massive Trove of Pirated Books To Train Its Llama Models.
12          22.      In public disclosures, Meta admitted that it made unauthorized copies and willfully

13   reproduced copies of nearly two hundred thousand pirated copyrighted books to advance its

14   commercial AI training and development projects.

15          23.      Since those disclosures, Meta has become less forthright about its AI work, but

16   what Meta previously disclosed confirms that Meta downloaded and copied a dataset of text

17   without authorization of registered copyright owners, including Plaintiff, called The Pile as part

18   of its work in training and developing its LLMs.

19          24.      The Pile is an 800 GB open-source dataset created for training large language

20   models that is, and was well known by AI developers. At the time Meta downloaded The Pile, it

21   was hosted and made publicly available online by a nonprofit called EleutherAI. As described by

22   its creators, “The Pile is constructed from 22 diverse high-quality subsets . . . many of which

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24   6
       See “The ‘it’ in AI models is the data set,” James Betker, https://nonint.com/2023/06/10/the-it-
     in-ai-models-is-the-dataset/ (June 10, 2023) (emphasis added).
25   7
       “Pretraining of Large Language Models,” Ritwik Raha,
26   https://gist.github.com/ritwikraha/77e79990992043f60a9588610b2781c5 (last accessed Sept. 25,
     2024).
     8
27     U.S. Patent & Trademark Office, Public Views on Artificial Intelligence and Intellectual
     Property Policy 29 (2020), available at
28   https://www.uspto.gov/sites/default/files/documents/USPTO_AI-Report_2020-10-07.pdf (last
     accessed Jan. 22, 2024).
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 1   derive from academic and professional sources. . . . [M]odels trained on the Pile improve

 2   significantly over Raw CC and CC-100 on all components of the Pile, which improving

 3   performance on downstream evaluations.”9

 4          25.     One of The Pile’s architects is an independent developer named Shawn Presser.

 5   Presser created a dataset included in The Pile called “Books3,” which is a trove of pirated books.

 6   Presser described how he created Books3 in a Twitter thread from October 2020:10

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15          26.     Presser explained he created Books3 in response to “OpenAI’s papers on GPT-2

16   and 3,” which “references to datasets named ‘books1’ and ‘books2,’” the latter of which Presser

17   suspects “might be ‘all of libgen.’”11 LibGen refers to “Library Genesis,” a website offering

18   pirated books that was ordered shut down for copyright infringement in 2015. See Elsevier, Inc. et

19   al. v. www.Sci-hub.org et al., 15-cv-2482-RWS, Dkt. No. 53 (Oct. 30, 2015).

20          27.     To create a pirated-book dataset comparable to what he suspected OpenAI created

21   for itself, Presser announced that Books3 was a direct download of all “196,640 books” from a

22   different pirate website called “bibliotik.”12

23

24
     9
       “The Pile: An 800GB Dataset of Diverse Text for Language Modeling,” Gao et al, Abstract,
25   https://arxiv.org/pdf/2101.00027 (last accessed Sept. 25, 2024) (“Gao Paper”).
     10
        See Tweet by Shawn Presser, Oct. 25, 2020,
26   https://x.com/theshawwn/status/1320282149329784833?lang=en (last accessed Sept. 25, 2024).
     11
27      See Tweet by Shawn Presser, Oct. 25, 2020,
     https://x.com/theshawwn/status/1320282152689336320 (last accessed Sept. 25, 2024).
     12
28      See Tweet by Shawn Presser, Oct. 25, 2020,
     https://x.com/theshawwn/status/1320282149329784833?lang=en (last accessed Aug. 15, 2024).
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 1          28.     Bibliotik is a “notorious pirated collection” of “pirated books.”13 For years prior

 2   to its use as “Books3,” Bibliotik was frequently included in roundups of the best—and most

 3   popular—sources for pirated books.14

 4          29.     Books3 was a critical part of The Pile. In EleutherAI’s paper on The Pile, it

 5   explained the key value of Books3 as training material:

 6                  Books3 is a dataset of books derived from a copy of the contents of the
 7                  Bibliotik private tracker . . . Bibliotik consists of a mix of fiction and
                    nonfiction books and is almost an order of magnitude larger than our next
 8                  largest book dataset (BookCorpus2). We included Bibliotik because books
                    are invaluable for long-range context modeling research and coherent
 9                  storytelling.15
10          30.     Presser and EleutherAI repeatedly and publicly acknowledged that The Pile and
11   Books3 was a cache of pirated material. EleutherAI’s paper on The Pile noted that “there is little
12   acknowledgment of the fact that the processing and distribution of data owned by others may also
13

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     13
        See Schoppert, “Whether you're an undergraduate doing research, or a fan of the Nick Stone
15   novels, or indeed a hungry AI...,” Nov. 29, 2022, https://aicopyright.substack.com/p/whether-
     youre-an-undergraduate-doing (“What is Bibliotik? A notorious pirated collection.”); “What I
16   Found in a Database Meta Uses to Train Generative AI,” Alex Reisner, The Atlantic, Sept. 25,
     2023, https://www.theatlantic.com/technology/archive/2023/09/books3-ai-training-meta-
17   copyright-infringement-lawsuit/675411/ (“a collection of pirated ebooks, most of them published
     in the past 20 years.”); “Revealed: The Authors Whose Pirated Books are Powering Generative
18   AI,” Alex Reisner, The Atlantic, Aug. 19, 2023,
     https://www.theatlantic.com/technology/archive/2023/08/books3-ai-meta-llama-pirated-
19   books/675063/ (“collections of pirated books, such as Library Genesis, Z-Library, and Bibliotik,
     that circulate via the BitTorrent file-sharing network.”); “Are ChatGPT, Bard and Dolly 2.0
20   Trained On Pirated Content?,” Roger Monti, Search Engine Journal, April 20, 2023,
     https://www.searchenginejournal.com/are-chatgpt-bard-and-dolly-2-0-trained-on-pirated-
21   content/485089/ (“The Books3 dataset contains the text of books that were pirated and hosted at a
     pirate site called, bibliotik.”).
22   14
        See Commit History of “Awesome Piracy,” Github.com, Oct. 13, 2018,
23   https://github.com/aviranzerioniac/awesome-
     piracy/commit/61928765e3ee0b4f3dbe3c0724b196e5f0f17e59?short_path=5a831ea#diff-
24   5a831ea67cf5cf8703b0de46901ab25bd191f56b320053be9332d9a3b0d01d15 (October 13, 2018
     commit to “awesome piracy” repo listing “Bibliotik Popular ebooks/audiobooks private
25   tracker”); “Reddit Piracy Megathread” repo., Github.com, Mar. 21, 2019
     https://github.com/magicoflolis/Reddit-Piracy-
26   Megathread/blob/master/data/findingtextbooks.md (March 21, 2019 guide from “r/piracy” on
     how to source textbooks listing “Bibliotik”); “List of free eBook download sites,” Pirates-
27   forum.org, Mar. 06 2014, https://pirates-forum.org/Thread-List-of-free-eBook-download-
     sites?highlight=bibliotik (March 31, 2014 post from “pirates forum” thread entitled “List of free
28   eBook download sites” listing “bibliotik”).
     15
        Gao Paper, p. 3-4.
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 1   be a violation of copyright law.”16 Furthermore, The Pile’s datasheet notes that “Books3 is almost

 2   entirely comprised of copyrighted works . . ..”17 Presser, for his part, admitted to releasing

 3   Books3 despite “fear of copyright backlash”18

 4          31.       In August 2023, Books3 was removed from the “most official” copy of The Pile—

 5   hosted by “The Eye,” an online repository of training datasets—due to copyright complaints.

 6   Despite this removal, the original version appears otherwise available as part of The Pile from

 7   other sources.

 8          32.       In its February 27, 2023 research paper, Meta admitted to downloading and

 9   reproducing Books3 willfully as part of its Llama development project. Meta AI researchers

10   explained that the training data used to develop Llama 1 included “two book corpora . . . the

11   Gutenberg Project, which contains books that are in the public domain, and the Books3 section of

12   The Pile (Gao et al., 2020), a publicly available dataset for training large language models.”19

13          33.       In referring to the Books3 dataset it used, Meta researchers: (1) directly cited the

14   2020 EleutherAI paper (authored by Leo Gao) which describes Books3 as “a dataset of books

15   derived from a copy of the contents of the Bibliotik private tracker;”20 and (2) distinguished

16   between the public domain books in the Gutenberg dataset and the publicly available (i.e.

17   unauthorized and pirated) books in the Books3 dataset. Meta knew Books3 was a trove of

18   copyrighted content sourced from pirate websites like Bibliotik and used it anyway.

19          34.       Notably, in an earlier research paper authored by Meta AI in June 2022, titled

20   “OPT: Open Pre-trained Transformer Language Models,” Meta indicated that it had eliminated

21   many of The Pile component datasets from its LLM pre-training data because “[Meta] found they

22   increased the risk of instabilities . . . or were otherwise deemed unsuitable.”21

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24   16
        Id. at 14-15.
     17
25      “Datasheet for the Pile,” Gao et al, Jan. 20, 2022, p. 15, https://arxiv.org/pdf/2201.07311 (last
     accessed Sept. 25, 2024).
26   18
        Comment of “sillysaurusx,” Hacker News, Jul. 11, 2023,
     https://news.ycombinator.com/item?id=36685115 (last accessed Sept. 25, 2024).
27   19
        https://arxiv.org/pdf/2302.13971
     20
28      Gao Paper, p. 3
     21
        https://arxiv.org/pdf/2205.01068
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 1           35.    For the purposes of the work memorialized in this June 2022 research paper, Meta

 2   excised component datasets that included copyrighted material.

 3           36.    For example, Meta excluded the “PubMed Central” and “PhilPapers” datasets.

 4   PubMed Central is a “repository for biomedical articles run by the United States of America’s

 5   National Center for Biotechnology Information (NCBI).”22 The PubMed Central dataset contains

 6   copyrighted material.

 7           37.    Likewise, the PhilPapers dataset is a repository of “open-access philosophy

 8   publications from an international database maintained by the Center for Digital Philosophy at the

 9   University of Western Ontario.”23 The PhilPapers dataset contains copyrighted material.

10           38.    In June 2022, Meta also excluded—as “unsuitable”—the Books3 dataset from its

11   training data. Shortly after that, something changed and as noted above, by February 2023, Meta

12   had copied Books3 and used it to train its LLMs.

13           39.    In March 2023, the Llama 1 language models were leaked to a public internet site

14   and have continued to circulate.

15           40.    Later in March 2023, Meta issued a DMCA takedown notice to a programmer that

16   released a tool to help users download the leaked Llama 1 language models. In the notice, Meta

17   asserted copyright over the Llama 1 large language models.

18           41.    In July of 2023—after Meta was sued for its infringing use of copyrighted material

19   for LLM training—Meta released Llama 2, which it described in a July 19, 2023 research paper

20   entitled “Llama 2: Open Foundation and Fine-Tuned Chat Models”24 (the Llama 2 Paper).

21           42.    The Llama 2 paper does not indicate the specific datasets used for pre-training but

22   indicates that more data was used (not less) and again conspicuously describes the data it sourced

23   as “publicly available online,” and not public domain.

24           43.    Meta’s ongoing exploitation of Books3 was particularly egregious because it took

25   place after Books3 was taken down from The Pile in 2023 due to copyright complaints directly

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27   22
        Gao Paper, p. 3
     23
28      Gao Paper, p. 5 (emphasis added).
     24
        https://arxiv.org/pdf/2307.09288.pdf
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 1   before Meta sought DMCA removal of the Llama 1 model to vindicate its own copyrights. This is

 2   especially ironic considering Llama 1 is a commercial LLM that was developed—without

 3   authorization—on pirated copies of hundreds of thousands of copyrighted literary works,

 4   including the literary works of Plaintiff.

 5          44.     Instead of willfully downloading and reproducing a notorious trove of pirated

 6   material, Meta could have lawfully purchased copies of books then negotiated a license to

 7   reproduce them. Alas, Meta did not even bother to pay the purchase price for the books it illegally

 8   downloaded, let alone obtain a license for their reproduction.

 9          45.     Meta’s commercial copying of Plaintiff’s work and works owned by the proposed

10   Class was manifestly unfair use, for several reasons. Many AI companies have described the AI

11   training process as “teaching” a model human language, much in the way a human learns. While

12   this self-serving anthropomorphizing of LLMs is misplaced, at a minimum, humans who learn

13   from books buy them, borrow them from libraries that buy them, or otherwise procure them

14   lawfully, thus providing at least some measure of compensation to authors and creators. Meta

15   does not, and it has usurped authors’ content for the purpose of creating a machine built to

16   generate the very type of content for which authors would usually be paid.

17          46.     Meta, in taking authors’ works without compensation, has deprived authors of

18   books sales and licensing revenues. There is, and has been, an established market for the sale of

19   books and e-books, yet Meta ignored it and chose to scrape a massive corpus of copyrighted

20   books from the internet, without even paying for an initial copy.

21          47.     Meta has also usurped a licensing market for copyright owners. In the last two

22   years, a thriving licensing market for copyrighted training data has developed. AI companies have

23   paid hundreds of millions of dollars to obtain licenses to reproduce high-quality copyrighted

24   material for LLM training.

25          48.     Meta chose to use Plaintiff’s works, and the works owned by the proposed Class,

26   free of charge, and in doing so has harmed the market for the copyrighted works by depriving

27   them of book sales and licensing revenue.

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 1   III.    Meta Pirated Material for Commercial Gain at the Expense of Authors.

 2           49.    Perversely, LLMs seriously threaten the livelihood of the same authors whose

 3   works they are non-consensually “trained” on.

 4           50.    Goldman Sachs’s estimates that generative AI could replace 300 million full-time

 5   jobs in the near future, or one-fourth of labor currently performed in the United States and

 6   Europe.

 7           51.    Already, writers report losing income from copywriting, journalism, and online

 8   content writing, which are critical sources of income for book authors.

 9           52.    For example, The Authors Guild, the oldest professional organization in the U.S.

10   representing writers and authors, and one on the forefront of efforts to shore up “creative markets

11   against disruptions from generative AI”25 has published an earnings study that shows a median

12   writing-related income for full-time authors of just over $20,000, and that full-time traditional

13   authors earn only half of that from their books.26 The rest comes from activities like content

14   writing—work that is itself starting to dry up as a result of generative AI systems trained on those

15   writers’ works, without compensation.

16   IV.     Meta Exploited Plaintiff’s Copyrighted Works.

17           53.    Plaintiff and Class Members have suffered identical harms from Meta’s

18   infringement. The contents of the datasets that Meta used to “train” its LLMs are peculiarly

19   within its knowledge, such that Plaintiff is unable to discern those contents with perfect accuracy.

20   But Meta has admitted to using Books3 during the relevant time, and the contents of Books3 is

21   widely reported. Plaintiff makes specific allegations of infringement below based on what is

22   known about Meta’s practices and what is known about the contents, uses, and availability of

23   pirated book repositories that it is suspected Meta used, like Bibliotik.

24

25
     25
26      Authors Guild, “Positions and Policy Recommendations”, available at
     https://authorsguild.org/advocacy/artificial-intelligence/ (last accessed Sept. 26, 2024).
     26
27      Authors Guild, “Top Takeaways from the 2023 Author Income Survey (2023)”, available at
     https://authorsguild.org/news/key-takeaways-from-2023-author-income-
28   survey/#:~:text=Though%20overall%20author%20incomes%20are,coming%20in%20a%20close
     %20second (last accessed Sept. 25, 2024).
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 1           54.     Plaintiff Christopher Farnsworth is the author of a number of books, including

 2   Blood Oath, Flashmob: A Novel, The Eternal World: A Novel, and The President's Vampire. Each

 3   of these works was and is a part of the Books3 dataset. Pirated copies of these works are

 4   available online through websites like LibGen and Bibliotik. Farnsworth is the author and owner

 5   of the registered copyrights listed under his name in Exhibit A.

 6                                         CLASS ALLEGATIONS
 7           55.     This action is brought by Plaintiff individually and on behalf of the Class, as

 8   defined below, pursuant to Rule 23(a), (b)(3) and 23(b)(2), (c)(4), and (g) of the Federal Rules of

 9   Civil Procedure:

10           All legal and beneficial owners of copyrighted works that: (a) are registered with
             the United States Copyright Office; (b) were or are used by Meta in the process of
11           LLM training, research, or development, including but not limited to the training
             and development of its Llama models and (c) have been assigned an International
12           Standard Book Number (ISBN). The Class excludes Defendant, its officers and
             directors, members of their immediate families, their co-conspirators, aiders and
13           abettors, and the heirs, successors or assigns of any of the foregoing.
14           56.     The Class consists of at least thousands of authors and copyright holders and thus

15   is so numerous that joinder of all members is impractical. The identities of members of the Class

16   can be readily ascertained from business records maintained by Defendant.

17           57.     The claims asserted by Plaintiff are typical of the claims of the Class, all of whose

18   works were also copied as part of the LLM training, research, and development process.

19           58.     The Plaintiff will fairly and adequately protect the interests of the Class and does

20   not have any interests antagonistic to those of other members of the Class.

21           59.     The Plaintiff has retained attorneys who are knowledgeable and experienced in

22   complex litigation, and have brought multiple copyright class actions against AI companies

23   asserting that their use of copyrighted material to train LLMs constitutes infringement.

24           60.     Plaintiff requests that the Court afford Class members notice and the right to opt-

25   out of any Class certified in this action.

26           61.     This action is appropriate as a class action pursuant to Rule 23(b)(3) of the Federal

27   Rules of Civil Procedure because common questions of law and fact affecting the Class

28   predominate over those questions affecting only individual members. The law is uniform. And,

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 1   the common factual questions giving rise to common answers that move this litigation forward

 2   include:

 3                a. Whether Meta’s reproduction of the Class’s copyrighted works constituted

 4                   copyright infringement;

 5                b. Whether Meta’s reproduction of the Class’s copyrighted works harmed Class

 6                   members and whether Class members are entitled to damages, including statutory

 7                   damages and the amount of statutory damages; and

 8                c. Whether Meta’s infringement was willful.

 9          62.      In addition, the class device is the superior mechanism for handling this action,

10   and a class trial is eminently manageable.

11          63.      This action is also appropriate as a class action pursuant to Rule 23(b)(2) of the

12   Federal Rules of Civil Procedure because Meta’s unlicensed exploitation of a large trove of the

13   Class’s books affects all class members in the same way, and any injunctive relief awarded will

14   affect the Class as a whole.

15          64.      Finally, at the very minimum, there are multiple common issues relating to Meta’s

16   uniform conduct, such as (but not limited to) their ingestion, reproduction, and willfulness.

17                                       CLAIM FOR RELIEF
                                 Copyright Infringement (17 U.S.C. § 501)
18                               Against Defendant Meta Platforms, Inc.
19          65.      Plaintiff incorporates by reference the preceding factual allegations.

20          66.      Plaintiff and members of the proposed Class have created literary works that are

21   original and fixed in a tangible medium of expression, and they own the registered copyrights in

22   the works that Meta reproduced and appropriated for its artificial intelligence projects.

23          67.      Plaintiff and members of the proposed Class therefore hold the exclusive rights,

24   including the rights of reproduction and distribution, to those works under 17 U.S.C. § 106.

25          68.      Meta infringed the exclusive rights, under 17 U.S.C. § 106, of Plaintiff and

26   members of the proposed Class by, among other things, reproducing and/or distributing the works

27   owned by Plaintiff and the proposed Class in connection with procuring and using datasets for

28   artificial intelligence training and development.

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 1             69.    On information and belief, Meta’s infringing conduct alleged herein was and

 2   continues to be willful. Meta infringed on the exclusive rights of Plaintiff and members of the

 3   proposed Class knowing that they were profiting from mass copyright infringement.

 4             70.    Plaintiff and members of the proposed Class are entitled to, at their election,

 5   statutory damages or, actual damages (including disgorgement of profits), and are entitled to

 6   attorneys’ fees and costs, and other remedies available under the Copyright Act.

 7             71.    Plaintiff and members of the proposed Class have been and continue to be

 8   irreparably injured due to Meta’s conduct, for which there is no adequate remedy at law. Meta

 9   will continue to infringe on the exclusive right of Plaintiff and the proposed class unless their

10   infringing activity is enjoined by this Court. Plaintiff and the proposed Class are therefore entitled

11   to permanent injunctive relief barring Meta’s ongoing infringement.

12                                         PRAYER FOR RELIEF
13             WHEREFORE, Plaintiff seeks that this matter be certified as a class action, and that his

14   attorneys be appointed Class Counsel and that he be appointed a Class Representative, and

15   Plaintiff demands judgment against Defendant as follows:

16             1.     Awarding Plaintiff and the proposed Class statutory damages or actual damages at

17   their election (including restitution and disgorgement of profits), attorneys’ fees and costs, and

18   any other relief that may be permitted by law or equity pursuant to the claim(s) for relief;

19             2.     Permanently enjoining Meta from engaging in the infringing conduct alleged

20   herein;

21             3.     Awarding Plaintiff and the proposed Class pre-judgment and post-judgment

22   interest pursuant to the claim(s) for relief;

23             4.     Awarding Plaintiff and the proposed Class costs, expenses, and attorneys’ fees as

24   permitted by law; and

25             5.     Awarding Plaintiff and the proposed Class further relief as the Court may deem

26   just and proper under the circumstances.

27                                      DEMAND FOR JURY TRIAL
28             Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

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 1   jury trial for all claims so triable.

 2

 3   Dated: October 1, 2024                  LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
 4

 5                                           By:     /s/ Daniel Hutchinson
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